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IN THE UNITED STATES DISTRICT COURT vsl/0 "`\
FOR THE WESTERN DISTRICT OF TENNESSEE 535 "\O
EASTERN DIVISION AT JACKSON gap 1252 P/’ / -O
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AGNES M. BRYSON, ) /"2@5/2;€/`%
) “UF:}¢, /?/
Plaintift`, )
)
v. ) No. 1-05~1090-T An
) Jury Dernanded
H M P, LLC dfb/a DAYS INN OF )
BROWNSV]]_,LE, )
)
Defendant. )

 

RULE 16(b)sCHEDUL1NG 0RDER

 

Pursuant to the scheduling conference set by written notice, the following dates

were established as the flnal dates for:

INITIAL DISCLOSURES (Rule 26(a)(1)): August 12, 2005
JOINING PARTIES:

For Plaintiffs: Septernber 30, 2005

For Defendant: October 31, 2005
AMENDING PLEADINGS:

For Plaintiffs: Scptember 30, 2005

For Defendant: October 315 2005

COMPLETING ALL DISCOVERY: March 1, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES
and REQUESTS FOR ADMISSION: March ], 2006

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiffs’ Experts: December 30, 2005
(ii) Defendant’s Expert:s: January 31, 2006
(iii) Supplementation under Ru]e 26(e): February 10, 2006

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(c) DEPoslrloNs oF ExPERTs; March 1, 2006
FILING DIsPosITIvE MoTIoNs; March 15, 2006
FINAL LIsTs oF WITNEssEs ANI) ExHIBITs (Rule zs(a)(s));

(a) For Plaintiffs: May l, 2006
(b) For Defendant: May 15, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to
file objections under Rule 26(3)(3).

The tn`al of this matter is expected to last three (3) days is SE'I` for JURY
TRIAL on June 14, 2006 at 9:30 A.M. A joint pretrial order is due on June 9, 2006. ln
the event the parties are unable to agree on a joint pretrial order, the parties must notify
the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Adrnissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by
the deadline for completion of discovery. For example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answerJ or objection Which is
the subject of the motion if the default occurs within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or any
objection to the default, response or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59 and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for Which a reply is required.

The parties rnay consent to trial before the Magistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that Will not be continued
unless a continuance is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding to trial.

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T he parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discovery.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be
modified or extendedl

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 94 2,(; M
APPROVED AS TO FORM:

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`David A. McLaughlin \/
Attorney for Plaintiff
The Cochran Firm ~ M is
One Comrnerce Square, 26th Floor
Memphis, TN 38103
(901) 523-1222

/§d\v\G.Si°-w res L/ § k

John B. starnes (#21012)\ ‘

Attorney for Defendant

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case l:05-CV-01090 was distributed by fax, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

